 Case 2:19-cv-08405-JMV-MF Document 22 Filed 03/20/19 Page 1 of 1 PageID: 982




Not for Publication
                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 JUUL LABS, INC.

                Plaintiff
                                                             Civil Action No. 19-8405 (JMV) (MF)
        V.


 EONSMOKE, LLC, ZLAB S.A., ZIIP LAB CO.,                                   ORDER
 LTD., SHENZHEN YIBO TECHNOLOGY CO.,
 LTD., JOHN DOES 1-50,

                Defendants.


John Michael Vazguez, U.S.D.J.

       Currently pending before this Court is Plaintiffs motion for temporary restraints and a

preliminary injunction. D.E. 8. The Court previously denied Plaintiffs request for temporary

restrains as to Plaintiffs unfair competition claim and as to Defendants ZLAB S.A., ZIIP Lab Co.,

Ltd., and Shenzhen Yibo Technology Co., Ltd, and ordered additional briefing as to the remaining

claim: design patent infringement against Defendant Eonsmoke, LLC.          D.E. 16.    The Court

reviewed the parties’ supplemental briefing, D.E. 17, 18, and heard oral argument on Wednesday,

March 20, 2019. For the reasons stated on the record, and for good cause shown,

       IT IS on this 20t1 day of March, 2019,

       ORDERED that Plaintiffs request for temporary restraints as to its design patent

infringement claim against Eonsmoke, LLC is DENIED; and it is further

       ORDERED that the Court’s schedule, set forth in its prior Order at D.E. 16, as to Plaintiffs

motion for a preliminary injunction remain in effect.

                                                        iQ                      I
                                                        JOFiN MICHAEL V&1JEZ, U.S.D.J.
